         Case 3:23-mc-80037-LB Document 16-1 Filed 03/06/23 Page 1 of 8




                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA


 In re Subpoena to:
                                                    Case No.: 3:23-MC-80037-lb

 Reddit, Inc.



                 SECOND DECLARATION OF KERRY S. CULPEPPER

       KERRY S. CULPEPPER, hereby declares under penalty of law that the following is true

and correct:

1.     I am an attorney and represent the Plaintiffs AFTER II MOVIE, LLC, BODYGUARD

PRODUCTIONS,          INC.,   HITMAN      TWO       PRODUCTIONS,       INC.,   KILLING     LINK

DISTRIBUTION, LLC, LHF PRODUCTIONS, INC., MILLENNIUM FUNDING, INC.,

MILLENNIUM        IP,    INC.,   MILLENNIUM          MEDIA,    INC.,   MON,      LLC,   NIKOLA

PRODUCTIONS, INC., OUTPOST PRODUCTIONS, INC., RAMBO V PRODUCTIONS, INC.,

VENICE PI, LLC, VOLTAGE HOLDINGS, LLC, and WONDER ONE, LLC (“Plaintiffs”) in the

originating case Bodyguard Productions, Inc., et al., v. RCN Telecom Services of Massachusetts,

LLC, et al., No. 3:21-cv-15310 (D.N.J.)

2.     I have personal knowledge of the matters stated herein, and this declaration is given in

support of Plaintiffs’ REPLY IN SUPPPORT OF THEIR MOTION TO COMPEL THIRD-

PARTY REDDIT TO RESPOND TO SUBPOENA filed herewith.

3.     On Nov. 7, 2022, Plaintiffs and Defendants (“Parties”) held their Rule 26(f) conference. A

dispute arose between Defendants’ proposal that discovery be bifurcated into a first stage limited

to their safe harbor defense and Plaintiffs’ proposal that discovery should proceed as normal.

Accordingly, discovery opened on Nov. 7, 2022 per Rule 26(d)(1).



                                                1
         Case 3:23-mc-80037-LB Document 16-1 Filed 03/06/23 Page 2 of 8




4.      On Dec. 5, 2022, the parties held a telephonic pretrial conference with Magistrate Judge

Tonianne J. Bongiovanni. After the parties raised this dispute, she ordered that discovery proceed

as normal and she would deal with this issue (bifurcated vs normal discovery) in response to

Defendants’ objections. She further ordered the parties to first exchange settlement positions by

Dec. 20, 2022 before engaging in discovery. I have attached as Exhibit “1” a true and correct copy

of a text minute entry for the initial pretrial conference.

5.      On Dec. 20, 2022, Judge Bongiovanni extended the deadline to exchange settlement

positions to the close of business of Jan. 6, 2023. I have attached as Exhibit “2” a true and correct

copy of the email on behalf of Judge Bongiovanni extending the deadline.

6.      The Parties were unable to settle this matter. Accordingly, discovery reopened on evening

of Jan. 6 at earliest or Jan. 7, 2023 at latest per Magistrate Judge Tonianne J. Bongiovanni’s Dec.

20, 2022 order.

7.      On Jan. 7, 2023, I served the subpoena on Reddit that is the source of this dispute.

8.      On Jan. 9, 2023, I served a First Request for Production of Documents (“1RPOD”) on

Defendant. I have attached as Exhibit “3” a true and correct copy of excerpts of 1RPOD. 1RPOD

is lengthy so I have only included excerpts necessary to show that it was served on Jan. 9, 2023.

9.      On Jan. 19, 2023, the Court endorsed the Parties’ Stipulated Protective Order. I have

attached a true and correct copy of the Protective Order as Exhibit “7”.

10.     On Jan. 26, 2023, the Parties had a further conference with the Court where they discussed

the dueling proposals about bifurcation/normal discovery and a dispute about Cable Act

authorization. The Court told the Parties to submit their dispute about the Cable Act to her and

reiterated that she would deal with the bifurcation/normal discovery dispute by taking up

objections to discovery as they come and reiterated that Plaintiffs should proceed with discovery



                                                   2
          Case 3:23-mc-80037-LB Document 16-1 Filed 03/06/23 Page 3 of 8




but hold off on depositions. I have attached as Exhibit “5” a true and accurate copy of the Text

minute entry for the Jan. 26 conference. The reference to “Document and interrogatory discovery

relevant to all claims and defenses shall commence” was to reiterate that the Parties should go

ahead with discovery except depositions.

11.      On Feb. 8, 2023, Defendants served their response to 1RPOD. I have attached as Exhibit

“4” a true and correct copy of excerpts of Defendants’ response. Defendants’ response to 1RPOD

is lengthy so I have only included excerpts necessary to show Defendants’ general objections and

that it was served on Feb. 8, 2023. Defendants did not make any objections to 1RPOD asserting

that it had been served prior to opening of discovery.

12.      On. Feb. 13, 2023, I sent a copy of the Protective Order to Reddit’s counsel John Roche by

email.

13.      I read Reddit’s Opposition [Doc. #8] on Feb. 28, 2023 while on an airplane. I nearly fell

out of my seat when I read that Reddit was accusing me of having served a subpoena prior to the

opening of discovery. I believe if Reddit’s counsel had just looked carefully at the Pacer docket

entries, they would have easily seen the text entry I have attached as Exhibit “1” that clearly states

that discovery begins on Dec. 20, 2022. I believe common professionalism and courtesy required

Reddit to at least contact me before making this type of inflammatory accusation in a public

document to confirm that the accusation was correct.

14.      Moreover, if Reddit’s counsels had contacted me before filing their Opposition to raise

their concern about the discovery start date, I would have immediately informed them of the

discovery schedule and provided them documents showing that discovery reopened on evening of

Jan. 6, 2023.

15.      The motion to compel in this discovery dispute between Plaintiffs and Reddit has been



                                                  3
          Case 3:23-mc-80037-LB Document 16-1 Filed 03/06/23 Page 4 of 8




widely      reported      in     online      media          sources   such    as     Torrent      Freak

(https://torrentfreak.com/filmmakers-request-identities-of-reddit-users-to-aid-piracy-lawsuit-

230218/) and Ars Technica (https://arstechnica.com/tech-policy/2023/02/reddit-should-have-to-

identify-users-who-discussed-piracy-film-studios-tell-court/). Accordingly, I am concerned that

Reddit’s false allegation that I disregarded the rules will damage the reputation of my firm and me.

16.      On March 1, 2023, I emailed Reddit’s counsels extending them an opportunity to file an

amended opposition by the end of that day deleting the argument that I served the subpoena prior

to discovery and all references to it, explicitly noting that it was completely false, and extending

an apology to Plaintiffs’ counsel and the Court for accusing Plaintiffs’ counsel of blatantly

violating the rules. I attached a copy of Exhibits “1” and “2” to the email.

17.      That same day, Reddit’s counsel replied stating “We therefore disagree that any portion of

our brief is false and decline your invitation to revise the brief” and referred to the text entry I have

attached as Exhibit “5”. I have attached as Exhibit “6’ a true and correct copy of this email

correspondence between us.

18.      I noticed that TorrentFreak posted an article on March 2, 2023 including Reddit’s

Opposition that included a comment from Reddit: “…the company informs TorrentFreak that it is

committed to protecting our users’ privacy” and that it will oppose legal requests when

appropriate.” Ernesto, “Reddit Asks Court to Protect Users’ Anonymity in Third-Party Piracy

Lawsuit”, Mar. 2, 2023, https://torrentfreak.com/reddit-asks-court-to-protect-users-anonymity-in-

third-party-piracy-lawsuit-230302/ [last accessed on March 3, 2023]. This article includes a link

to Reddit’s opposition. I was surprised that Reddit would take the time to comment to a news

article but not correct a clear error in their brief.

19.      I also noticed that Ars Technica posted a follow up article on March 2, 2023 that includes



                                                        4
         Case 3:23-mc-80037-LB Document 16-1 Filed 03/06/23 Page 5 of 8




a link to Reddit’s Opposition. See John Brodkin, “Reddit tells court: Film studios spewed

“nonsense” in demand for users’ names”, March 2, 2023,              https://arstechnica.com/tech-

policy/2023/03/reddit-tells-court-film-studios-spewed-nonsense-in-demand-for-users-names/

[last accessed on March 3, 2023].

20.    Accordingly, thousands of people who have read these articles will arrive at the mistaken

impression that I flagrantly violated the Federal Rules of Civil Procedure based upon Reddit’s

Opposition brief. My fears about damage to my reputation have been realized.

21.    Reddit includes numerous active forums that openly discuss and support piracy. In some

of these forums, Reddit’s users even mentioned my name specifically. Reddit is aware of these

comments because I served a subpoena on Reddit in connection with a different case (Millennium

Funding, Inc., et al., v. Wicked Technology Limited, et al., No. 1:21-cv-00282-RDA-TCB (E.D.

Va.) for these user identities that were violating the permanent injunction to which Reddit

responded    on     July    13,     2022.       For    example,     in   the    Reddit    forum

https://www.reddit.com/r/PopCornTimeApp/ that promotes and distributes the piracy app

“Popcorn Time” a Reddit user posted as follows:




22.    I believe Reddit’s counsels’ false information in its Opposition Brief has causeed

professional damage to me. I strongly suspect Reddit is: (1) retaliating against me for daring to


                                               5
         Case 3:23-mc-80037-LB Document 16-1 Filed 03/06/23 Page 6 of 8




request information about Reddit’s users that openly discussed and promoted piracy for a second

time (2) trying to send a message to any other litigants who are considering requesting similar

information from Reddit; and (3) portraying itself as having put up a good fight against copyright

holders until it had to be dragged kicking and screaming by a Court to disclose user information.

My belief and strong suspicions are based upon the fact that Reddit’s counsels refused to amend

their opposition despite me sending them clearcut proof that discovery reopened, Reddit’s refusal

to even consider my alternative proposals that deal with its arguments, and the fact that I had

previously served a subpoena on Reddit concerning users that blatantly use (and currently use)

Reddit’s service to promote piracy.

23.    Reddit previously provided information for user “ben125125” that includes Internet

Protocol (“IP) address logs. I was able to use public resources such as American Registry of

Internet Numbers (“ARIN”) to confirm that this user logged into his/her Reddit account from an

IP address associated with RCN.

24.    The protective order in this case (which I sent to Reddit’s counsel Mr. Roche) is attached

as Exhibit “6”. §III, ¶4 of the Protective Order states that “All Protected Information provided by

any party or nonparty in the course of this litigation shall be used solely for the purpose of

preparation, trial, and appeal of this litigation and for no other purpose, and shall not be disclosed

except in accordance with the terms hereof.” (emphasis added). As I stated in the opening brief,

“Plaintiffs are not seeking to retaliate economically or officially against these subscribers.” Doc.

#1 at p. 8. Plaintiffs are willing to designate the information they receive from Reddit as Protected

Information.

25.    In March 1, 2023, I proposed to Reddit’s counsel that since its argument is that I have no

proof that its users who that did not mention RCN in particular were users of RCN or an ISP in the



                                                  6
            Case 3:23-mc-80037-LB Document 16-1 Filed 03/06/23 Page 7 of 8




Astound family, that Reddit use publicly available resources to look at the IP address logs for these

users and only send me the information for those users that had an IP address tied to an ISP in the

Astound group. Reddit rejected this request without explanation. This conversation is also shown

in Exhibit “6”.

26.    Plaintiffs alternatively propose that Reddit initially provide the IP address logs (but not

name or email address) of the certain subscribers that did not explicitly mention RCN subject to

the HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY designations of the protective

order so that Plaintiffs’ counsel can use publicly available resources to look at the IP address logs

for these users and determining if any of the IP addresses are tied to an ISP in the Astound family.

If Plaintiffs’ counsel finds such an IP address, he can provide Reddit with printouts of records

showing that this users IP addresses were tied to the Astound family, and Reddit can only provide

the requested information for those particular users among those that did not mention RCN.

27.    I was surprised to read the declaration of Mr. Schottlaender where he states that Reddit did

not notify any of the other subscribers besides ben125125. See Doc. #9 at ¶7. Reddit’s refusal to

notify the other subscribers contradicts Mr. Roche’s letter of Jan. 17, 2023 where he states,

“Assuming all other objections can be resolved, Reddit will not produce any records until the users

have received adequate notice and an opportunity to object to the subpoena”. Doc. #1-3. Reddit’s

statement in FN10 that “It was not until it became clear that Plaintiffs intended to litigate this

matter that Reddit proceeded with notifying the remaining users” does not make sense because I

served a copy of the opening brief on Reddit’s counsel on Feb. 5, 2023 prior to filing it in further

good faith efforts to resolve the dispute outside of Court. See Doc. #1 at p 10 (certificate of

service).

28.    On         Feb.      4,       2023,        I      navigated        to       the       website



                                                 7
         Case 3:23-mc-80037-LB Document 16-1 Filed 03/06/23 Page 8 of 8




https://www.astound.com/business/news/entouch-acquisition/.            According to this website,

Astound includes the ISPs RCN, Grande, Wave and Entouch.

29.     I am informed that Starpower is a brandname used by RCN for service in Mid-Atlantic

states. For example, on Feb. 4, 2023, I navigated to the website https://www.astound.com/wp-

content/uploads/2022/05/DC-Senior-Discount-Form.pdf where Astounds advertises as Starpower

Communications LLC d/b/a RCN Telecom Services.

30.     I have attached as Exhibit “8” a true and accurate copy of two pages of the original

complaint in the originating action to show paragraph ¶112. Note a First Amended Complaint was

later filed in this originating action, but it included this same allegation.



DATED: Kailua-Kona, Hawaii, Mar. 6, 2023.




Telephone:      (808) 464-4047
Facsimile:      (202) 204-5181
E-Mail:         kculpepper@culpepperip.com




                                                   8
